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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MAGGIE SMITH, et al.,

 Plaintiffs,                                         Civil Action No: 15-737 (RCL)

           v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

 Defendant.

                                            PROPOSED ORDER

           Plaintiffs’ consent motion [99] to modify the Scheduling Order [80] is GRANTED; and it is

further

          ORDERDED that the Schedule in this case is amended as follows:

Deadline                            Date in amended Scheduling Amended Deadline
                                    Order [90]

Fact Discovery on liability and January 22, 2021                       February 22, 2021
class issues completed

Plaintiffs’ motion for summary February 10, 2021                       March 10, 2021
judgment on liability due

Defendant’s Opposition and March 10, 2021                              April 12, 2021
cross-motion on liability due

Plaintiffs’ Reply and Opposition April 15, 2021                        May 17, 2021
due

Defendant’s Reply due               April 29, 2021                     June 1, 2021


SO ORDERED.
                                              /s/ Royce C. Lamberth
                                              THE HONORABLE ROYCE C. LAMBERTH
January 19, 2021                              Senior Judge, United States District Court for the
                                              District of Columbia



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